     Case: 1:15-cr-00350 Document #: 10 Filed: 06/30/15 Page 1 of 9 PageID #:27
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                                                                               , {uN I 0 2015 o)
                      UNITED STATES DISTRICT COURq                     r   o
                      NORTHERN DISTRICT OF ILLINOIS
                                             .'
                                                                             -9Ltn'30,?ol.-
                            EASTERN DIVISION                               cLE#oJgff;#I8[,_,

UNITED STATES OF AMERICA                   )
                                                               I
                                                                           UUMMffi THAMP
                                           )   No.    15 CR 350
      v.                                   )                           I{AGISTRA}.E JUD0I GlLBERT
                                           )
ANDREW SHELTON,                            )   Violations: Title 18, United States
     alkJa "Manki,"                        )   Code, Sections 659,922(9)(1), and 0)
ELGIN LIPSCOMB,                            )
     alkJa "Rat,"
WARREN GATES,
                                           )
                                           )
                                                                   BECHYED
     alkla "Chuck,"                        )



                                                                   .@
                                                                   :
ALEXANDER PEEBLES,                         )                                JuN   so ?otd
     alU a "Adolf," "A-dog,"'Ace," and,    )
LORI SHELTON,                              )




                                    COUNT ONE

      The SPECIAL JANUARY }}L4GRAND JURY                 charges:                  '

      On or about   ApriM,    2015,   at Chicago, in the Northern District of.Illinois,

Eastern Division,

                                ANDREW SHELTON,
                                     alHa "Manki,"
                                  ELGIN LIPSCOMB,
                                     alkla "Rat," and
                              ALEXANDER PEEBLES,
                             alkl a "Adolf," "A-dog," "Ace,"

d.efendants herein, each having been convicted of a crime punishable by a term of

imprisonment exceed.ing one year, did knowingly possess, in and. affecting iiterstate

commerce, a firearm, which frrearm had traveled        in interstate   commerce prior to

each defendant's possession of the firearm;

       In violation of Title 18, ljnited states code, section 922(d$).
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                                   COUNT TWO

      The SPECIAL JANUARY 2014 GRA.ND JURY further chaiges:

      On or about April L2, 2015, at Chicago, in the Northern District of Illinois,

Eastern Division,

                               ANDREW SHELTON,
                                     akla "Manki,"
                                 ELGIN LIPSCOMB,
                                    alkla "Rat," and
                             ALEXANDER PEEBLES,
                            alkl a "Adolf,"'A-dog," " Ace,"

defendants herein, did knowingly receive, possess, conceal, and store     a   stolen

firearm which firearm had been shipped in interstate commerce, knowing and

having reasonable cause to believe that the firearm was stolen;

      In violation of Title 18, United States Code, Section 9220.
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                                 COUNT THREE

      The SPECIAL JANUARY 2014 GRAND JURY further charges:

      On or about April L2, 2O!5, at Chicago, in the Northern District of lllinois,

Eastern Division,

                               ANDREW SHELTON,
                                    alkla "Manki,"
                                ELGIN LIPSCOMB,
                                   alkla "Rat," and
                             ALEXANDER PEEBLES,
                            alkla "Adolf," "A-dog," "Ace,"

defendants herein,   did steal, unlawfully take, carry away, and conceal from      a

railroad car, with intent to convert to their own use, goods moving as, which were

part of, and which constituted an interstate shipment of freight and other property,

having a value in excess of $1,000, namely, approximately 104 Ruger firearms with a

total value of approximately $51,000.

      In violation of Title 18, United States Code, Section 659.
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                                   COUNT FOUR

      The SPECIAL JANUARY         IOI   GRAND JURY further charges:

      On or about June 9, 20t5, at Chicago, in the Northern District of

Eastern Division,

                               ANDREW SHELTON,
                                  alkla "Manki,"

defendant herein, previously having been convicted of a crime punishable by a term

of imprisonment exceeding one year, did knowingly          possess,   in and affecting
interstate commerce, a firearm, namely, a Glock Model 22, .40 caliber pistol, bearing

serial number EKG135US, which firearm had traveled in interstate commerce prior

to defendant's possession of the firearm;

      In violation of Title 18, United States Code, Section 9z2(g)(L).
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                                     COUNT FIVE

       The SPECIAL JANUARY 2014 GRAND JURY further charges:

       On or about June 11,20L5, at South Chicago Heights, in the Northern District

of Illinois, Eastern Division,

                                   WARREN GATES,
                                    alWa "Chuck,"

defendant herein, previously having been convicted of a crime punishabte by a term

of imprisonment exceeding one year, did knowingly           possess,   in and affecting
interstate commerce, a firearm, namely, (1) a Ruge r .22 callber pistol, bearing serial

number 490-63367 , (2) a Ruger .22 callber pistol, bearing serial number 490-63104,

(3) a Ruger .22 caliber pistol, bearing serial number 490-63103, (4) a Ruger .22

caliber pistol, bearing serial number 490.63471, (5) a Ruger .22 caLtber pistol,

bearing serial number 490-63494, (6) a Ruger .22 callber pistol, bearing serial

number 490-63520, (7)        a Taurus .44 caliber revolver, bearing serial number
FS621919, (8) a US Arms .44 caliber revolver, bearing serial number 4003240, (9) a

Iver Johnson .30 caliber pistol, bearing serial number 8A01860, (10) a Smith and

Wesson .44 caliber revolver, bearing serial number AJF642I, (11) a Astra .22 caLtber

pistol, bearing serial number 153446, (12) a Sears M-200 shotgun, bearing serial

number P2945L2, and (13) a Liegeoise D'Armes shotgun, bearing serial number

12499, which firearm had traveled      in interstate   commerce   prior to defendant's
possession of the firearm;

            In violation of Title 18, United States Code, Section 922(g)(1).
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                                       COUNT SD(

       The sPECIAL JANUARY 2014 GRAND JURY further charges:

       On or about June 1111,2Ol5, at South Chicago Heights, in the Northern
                                                                             District

of Illinois, Eastern Division,

                                  WARREN GATES,
                                   alkla "Chuck,"

d.efendant herein, did knowingly receive, possess, conceal, and store a stolen
                                                                               firearm,

namely, (1) a Ruger .22 caliber pistol, bearing serial number 490-63367, (2) a Ruger

      caliber pistol, bearing serial number 490-63104, (3) a Ruger -22 caltber
                                                                               pistol,
.22

bearing serial number      4g0-G8103   , (4) a Ruger .22 cahber pistol, bearing serial
number 490-6g471, (b) a Ruger .22 callber pistol, bearing serial number 490-63494'

and (6) a Ruger .22 callber pistol, bearing serial number 490-63520, which firearm

had been shipped in interstate commerce, knowing and having reasonable cause to

believe that the firearm was stolen;

        In violation of Title 18, united states code, section 9220).




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                                  COUNT SEVEN

      The SPECIAL JANUARY 2014 GRAND JURY further charges:

      On or about June g, 20L5, at Chicago, in the Northern District of Illinois,

Eastern Division,

                                  LORI SHELTON,

defendant herein, did knowingly receive, possess, conceal, and store a stolen firearm,

namely, (1) a Rug er .22 caliber pistol, bearing serial number 490-63599 , (2) a Ruger

.22 callber pistol, bearing serial number 490-63624, and (3) a Ruger .22 callber

revolver, bearing serial number 577-26144, which firearm had been shipped in

interstate commerce, knowing and having reasonable cause to believe that the

firearm was stolen;

      In violation of Title 18, United States Code, Section 922$).
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                          FORFEITURE ALLEGATION

      The SPECIAL JANUARY 2014 GRAND JURY further charges:

      1.         The allegations contained in this Indictment are incorporated" here

for the purpose of alleging forfeiture pursuant to Title 18, United States             Code,

Section 924(dX1), and Title 28, United States Code, Section 2aGL@).

      2.         As a result of the violation of Title 18, United States Code, Section

922(g)(l) and O, as alleged in the foregoing indictment,

                              ANDREW SHELTON,
                                   alUa "Manki,"
                                ELGIN LIPSCOMB,
                                     alkJa"Rat,"
                                 WARREN GATES,
                                   alkla "Chuck,"
                             ALEXANDER PEEBLES,
                              alH a "Adolf', "Ace," and
                                 LORI SHELTON,

defendant herein, shall forfeit to the United States, pursuant to Title 18, United

States Code, Section 924(dX1), and Title 28, United States Code, Section 2461(c),

any and all right, title, and interest defendant may have in any property involved in

the charged offense.

      3.         The interest of defendant subject to forfeiture to the United States

pursuant to Title 18, United States Code, Section 924(d)(1), and Title 28, United

States Code, Section 2461(c), are the 104 Ruger firearms stolen on           April L2, 2015

and associated ammunition, as well as the following fi.rearms: (1) a Ruger .22 catrtber

pistol, bearing serial number 490-63367, (2) a Ruger .22   cal:.:ber   pistol, bearing serial
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number 490-63104, (3) a Ruger .22 caliber pistol, bearing serial number 490-63103,

@)   a Ruger .22 callber pistol, bearing serial number 490-63471, (5) a Ruger       .22

caliber pistol, bearing serial number 490-63494, (6) a Ruger .22 callber pistol,

bearing serial number 490-63520, (7) a Taurus .44 callber revolver, bearing serial

number FS621919, (8) a US Arms .44 caliber revolver, bearing serial number

4003240, (9) a Iver Johnson .30 caliber pistol, bearing serial number 8401860,     (1-0)


a Smith and Wesson .44 caliber revolver, bearing serial number AJF642L, (11) a

Astra .22 caltber pistol, bearing serial number L53446, (L2) a Sears M-200 shotgun,

bearing serial number P294512,(13) a Liegeoise D'Armes shotgun, bearing serial

number 12499,      $ ) a Glock Model 22, .40 caliber pistol, bearing serial number
EKG135, (15) a Ruger .22 caLlber pistol, bearing serial number 490-63599, (16) a

Ruger .22 callber pistol, bearing serial number 490-63624, and (17) a Ruger .22

caliber revolver, bearing serial number 577-26L44

       A11   pursuant to Title 18, United States Code, Section 924(d)(1), and Title 28,

United States Code, Section zalir@).



                                                A TRUE BILL:



                                                FOREPERSON




 UNITED STATES ATTORNEY


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